     Case: 1:06-cr-00239 Document #: 418 Filed: 01/31/18 Page 1 of 3 PageID #:2521


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )       Case No. 06-CR-239
               v.                             )       Honorable Amy J. St. Eve
                                              )       Judge Presiding
ANTHONY CALABRESE                             )

         DEFENDANT ANTHONY CALABRESE’S MOTION FOR EXPEDITED
           COMPASSIONATE RELEASE AND REDUCTION IN SENTENCE

        Now Comes the Defendant, ANTHONY CALABRESE (“Mr. Calabrese”), by and

through his attorneys, JOSEPH R. LOPEZ and LISA M. LOPEZ, and pursuant to 18 U.S.C. §

3582 (c)(1)(A), moves this Honorable Court for expedited compassionate release and a reduction

in his sentence. In support of this request, Mr. Calabrese offers the following:

1.      Mr. Calabrese has been in continuous custody since being charged in case 02-CR-448.

        Mr. Calabrese was found guilty in that case on April 15, 2003.

2.      He was sentenced to 87 months in case 02-C-448 and served his sentence.

3.      On April 6, 2003, he was indicted in this case. Mr. Calabrese went to trial and was found

        guilty. He was sentenced to 751 months’ imprisonment.

4.      Mr. Calabrese is currently serving his sentence at FCI Terra Haute.

5.      Recently, Mr. Calabrese was diagnosed with an incurable stage IV GE junction cancer.

6.      According to Dr. Sang Hub of the Coleman Cancer Center, the survival rates vary from

        three months to two years depending on treatment alternatives.

7.      Upon information and belief, this information has been reported to the Bureau of Prisons

        and a request for compassionate release has been sent to the Warden at FCI Terra Haute.

8.      The BOP will consider requests for a reduction in sentence where an inmate suffers from

        a terminal or debilitated medical condition. The BOP’s criteria for a Reduction in Sen-

        tence, (“RIS”) may include:
      Case: 1:06-cr-00239 Document #: 418 Filed: 01/31/18 Page 2 of 3 PageID #:2522


                 Terminal Medical Condition: where an inmate has been diagnosed with a
                 terminal, incurable disease and whose life expectancy is 18 months or less,
                 RIS consideration may be given. The BOP’s consideration should include
                 assessment of the primary (terminal) disease, prognosis, impact of other
                 serious medical conditions of the inmate, and degree of functional im-
                 pairment. Functional impairment (limitations on daily activities such as
                 feeding or dressing oneself) is not required for inmates diagnosed with
                 terminal medical conditions; however, functional impairment may be a
                 factor when considering the inmate’s ability to reoffend.
                 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g).

9.       Mr. Calabrese’s stage IV GE junction cancer is terminal and he fits the criteria set

         forth in the statutes.

10.      Mr. Calabrese would like to be released from custody for compassionate reasons

         and requests that this Honorable Court reduce his sentence and impose supervised

         release so that he may return home and seek treatment.

11.      Mr. Calabrese is waiting for the BOP to direct the United States Attorney’s Office

         to file a Motion for Reduction in Sentence as a result of the incurable nature of his

         medical condition. The Motion for Reduction in Sentence will allow Mr. Calabre-

         se to be released under stringent conditions. Each day is crucial as his days are

         gravely limited.

12.      Mr. Calabrese needs his request expedited as he needs to formalize a treatment

         plan for his terminal cancer.

         WHEREFORE, Mr. Calabrese respectfully requests that this Honorable Court ex-

pedite his request for Compassionate Relief and any other remedies it finds equitable.

                                                       Respectfully submitted,

                                                       /s/Joseph R. Lopez

Joseph R. Lopez
Lopez & Lopez, LTD.
Attorney No. 6186562
53 W. Jackson Blvd., Suite 1651
Chicago, IL 60604 (312) 922-2001


                                                  2
   Case: 1:06-cr-00239 Document #: 418 Filed: 01/31/18 Page 3 of 3 PageID #:2523



                                   CERTIFICATE OF SERVICE

       I, Joseph R. Lopez, an attorney, certify that in accordance with FED. R. CRIM. P. 49,

FED. R. CIV. P. 5, LR5.5, and the General Order on Electronic Case Filing (ECF), the foregoing

document was served on January 31, 2018, pursuant to the District Court’s system as to ECF fil-

ers.

                                                   Respectfully submitted,

                                                   /s/Joseph R. Lopez




Joseph R. Lopez
Lopez & Lopez, LTD.
Attorney No. 6186562
53 W. Jackson Blvd., Suite 1651
Chicago, IL 60604 (312) 922-2001




                                               3
